Case 2:13-cv-00431-SRC-CLW Document 99 Filed 01/26/16 Page 1 of 2 PageID: 1751




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 HELLER URBAN RENEWAL, LLC and
 THE HARRISON REDEVELOPMENT
 AGENCY

                               Plaintiff,            Civil Action No. 2:13-CV-00431

        v.

 FER BOULEVARD REALTY CORP.,                       STIPULATION OF DISMISSAL
 EREZ SHTERNLICHT, STERNCO                              WITH PREJUDICE
 DOMINION REAL ESTATE CORP., THE
 HARTZ MOUNTAIN GROUP, and THE
 HARTZ CONSUMER GROUP, INC.

                               Defendant.


        IT IS HEREBY STIPULATED AND AGREED that the above-captioned action be, and

 is hereby, dismissed with prejudice and without costs or attorneys’ fees against any party.

 Dated this 7th day of January 2016

 PLAINTIFFS:

 Heller Urban Renewal, LLC                            The Harrison Redevelopment Agency,
 by its undersigned counsel,                          by its undersigned counsel,

 HELLRING LINDEMAN GOLDSTEIN                          CASTANO QUIGLEY LLC
  & SIEGAL LLP

 By: /s/ Robert S. Raymar                             By: /s/ Gregory Castano, Jr.
         Robert S. Raymar                                     Gregory Castano, Jr.
         A Member of the Firm                                 A Member of the Firm
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 (signatures continue on page 2)
Case 2:13-cv-00431-SRC-CLW Document 99 Filed 01/26/16 Page 2 of 2 PageID: 1752



 (signatures continued from page 1)

 DEFENDANTS:

 FER Boulevard Realty Corp., and Erez Shternlicht,
 by their undersigned counsel,

 RIKER DANZIG SCHERER HYLAND PERRETTI, LLC

 By: /s/ Dennis J. Krumholz
        Dennis J. Krumholz
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 Morristown, New Jersey 07962-1981
 (973) 451-8454
 dkrumholz@riker.com

   - and -

 Sternco Dominion Real Estate Corp., The Hartz Mountain Group,
 and The Hartz Consumer Group, Inc.
 by their undersigned counsel,

 FOX ROTHSCHILD, LLP

 By: /s/ Kenneth H. Mack
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 - and -

 /s/ Curtis L. Michael
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